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     1                        UNITED STATES DISTRICT COURT

     2            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

     3              HONORABLE S. JAMES OTERO, U.S. DISTRICT JUDGE

     4

     5   UNITED STATES OF AMERICA,            )
                                              )
     6                     Plaintiff,         )
                                              )                 Case No.
     7        vs.                             )            CR 17-00697 SJO
                                              )
     8   DANIEL FLINT,                        )                 VOLUME 4
                                              )            (Pages 498 - 508)
     9                     Defendant.         )
         ____________________________________ )
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    13                REPORTER'S TRANSCRIPT OF TRIAL PROCEEDINGS
                                     TRIAL DAY 4
    14                         FRIDAY, OCTOBER 19, 2018
                                      10:43 A.M.
    15                         LOS ANGELES, CALIFORNIA

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    22        ________________________________________________________

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     1                           APPEARANCES OF COUNSEL:

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     3   FOR THE PLAINTIFF:

     4       NICOLA T. HANNA
             United States Attorney
     5       BY: CHRISTINE RO
             BY: IAN YANNIELLO
     6       BY: MARK AVEIS
                  Assistant United States Attorneys
     7       United States Courthouse
             312 North Spring Street
     8       Los Angeles, California 90012

     9   FOR THE DEFENDANT:

    10       HILARY LEE POTASHNER
             Federal Public Defender
    11       BY: CRAIG A. HARBAUGH
             BY: GEORGINA WAKEFIELD
    12            Deputy Federal Public Defenders
             Central District of California
    13       321 East Second Street
             Los Angeles, California 90012
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     1            LOS ANGELES, CALIFORNIA; FRIDAY, OCTOBER 19, 2018

     2                                   10:43 A.M.

     3                                        --oOo--

     4                   (Outside the presence of the jury.)

     5                   THE COURT:   Okay.    Our parties are here, counsel are

     6   here, the defendant is here.          The jury has reached a verdict in

     7   the case.       Please have a seat.     We will wait until the system

     8   is activated.

     9                   THE COURTROOM DEPUTY:     It's activated.

    10                   THE COURT:   Okay.    Would you please stand for the

    11   jury.

    12           (In the presence of the jury.)

    13                   THE COURT:   Okay.    We have our jury reassembled with

    14   our alternate and our foreperson, Mr. Hernandez, soon to be

    15   Dr. Hernandez --

    16                   JUROR HERNANDEZ:     Yes, sir.

    17                   THE COURT:   -- has the verdict in his hand.

    18           Would you make sure it's signed and dated, please, one

    19   last check, and pass it to the bailiff, please.

    20                   JUROR HERNANDEZ:     Yes, sir.

    21                   THE COURT:   And may I have counsel seated.

    22           Okay.    I've reviewed the verdict.      It's been signed and

    23   dated, and I'll pass it to the clerk.

    24           Would the clerk please read the verdict, please.

    25                   THE COURTROOM DEPUTY:     Yes, Your Honor.




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     1          "United States District Court, Central District of

     2   California, the United States of America, plaintiff, versus

     3   Daniel Flint, defendant; case number CR 17-00697 SJO.           Jury

     4   Verdict.

     5          "We, the jury, in the above-entitled cause of action,

     6   hereby find the defendant, Daniel Flint, guilty as charged in

     7   Count One of the indictment," dated this 19th day of October

     8   2018, at Los Angeles, California, signed by the jury

     9   foreperson.

    10                 THE COURT:   Okay.    Would you poll the jury, please.

    11                 THE COURTROOM DEPUTY:     Yes, Your Honor.

    12          Would you please pass the microphone to Juror No. 1,

    13   Ms. Ribot.

    14          Juror No. 1, Cynthia Ribot, is this your verdict as

    15   presented and read?

    16                 JUROR RIBOT:   Yes.

    17                 THE COURTROOM DEPUTY:     Thank you.    Would you please

    18   pass the microphone.

    19          Juror No. 2, Frank-Joshua Hernandez, is this your verdict

    20   as presented and read?

    21                 JUROR HERNANDEZ:     Yes, sir.

    22                 THE COURTROOM DEPUTY:     Thank you.    Please pass the

    23   microphone.

    24          Juror No. 3, Frances Romo, is this your verdict as

    25   presented and read?




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     1                 JUROR ROMO:   Yes.

     2                 THE COURTROOM DEPUTY:     Thank you.

     3          Juror No. 4, Louie Kawamoto, is this your verdict as

     4   presented and read?

     5                 JUROR KAWAMOTO:    Yes.

     6                 THE COURTROOM DEPUTY:     Juror No. 6, Jonathan

     7   Palencia --

     8                 JUROR MIRANDA:    I'm Juror 5.

     9                 THE COURTROOM DEPUTY:     I'm sorry, excuse me.

    10   Juror No. 5, Jason Miranda, is this your verdict as presented

    11   and read?

    12                 JUROR MIRANDA:    Yes.

    13                 THE COURTROOM DEPUTY:     And Juror No. 6, Jonathan

    14   Palencia, is this your verdict as presented and read?

    15                 JUROR PALENCIA:    Yes.

    16                 THE COURTROOM DEPUTY:     Thank you.

    17          Juror No. 7, Juan Platero, is this your verdict as

    18   presented and read?

    19                 JUROR PLATERO:    Yes.

    20                 THE COURTROOM DEPUTY:     Thank you.

    21          Juror No. 8, Deanna Lara, is this your verdict as

    22   presented and read?

    23                 JUROR LARA:   Yes.

    24                 THE COURTROOM DEPUTY:     Thank you.

    25          Juror No. 9, Juan Escobar, is this your verdict as




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     1   presented and read?

     2                JUROR ESCOBAR:     Yes.

     3                THE COURTROOM DEPUTY:      Thank you.    Would you please

     4   pass the microphone all way down to Juror No. 10.

     5          Thank you.

     6          And Juror No. 10, Stephanie Smith, is this your verdict as

     7   presented and read?

     8                JUROR SMITH:    Yes.

     9                THE COURTROOM DEPUTY:      Thank you.

    10          Juror No. 11, Freeda Latimore, is this your verdict as

    11   presented and read?

    12                JUROR LATIMORE:     Yes.

    13                THE COURTROOM DEPUTY:      And Juror No. 12, John

    14   Stevens, is this your verdict as presented and read?

    15                JUROR STEVENS:     Yes.

    16                THE COURTROOM DEPUTY:      Thank you.

    17          That concludes the polling.

    18                THE COURT:    All the jurors have answered in the

    19   affirmative confirming the verdict of guilty.

    20          Are there any final issues to address with counsel before

    21   the Court discharges the jury?

    22                MS. RO:    Not from the Government, Your Honor.

    23                MR. HARBAUGH:     No, Your Honor.

    24                THE COURT:    Let me just take the opportunity to

    25   thank the jury for their service here.         When we started the




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     1   case on Tuesday, I informed you and mentioned it would take

     2   approximately four days to try the case.         I would assume that

     3   maybe a couple of you were skeptical about the estimate, maybe

     4   not.   In federal court cases move relatively quickly.          The

     5   lawyers are extremely well prepared.        There is much work that

     6   goes into a case prior to its preparation for trial or prior to

     7   trial in preparation for trial, so there's been motions that

     8   are heard, legal determinations that have been determined.

     9          There was some delay here during the course of the

    10   proceedings.    We brought you in a little bit later on occasion,

    11   and that's because the lawyers on this case are very good

    12   lawyers, very good for the defense and very good for the

    13   prosecution, so there were several significant legal issues

    14   that the Court had to address.

    15          This type of criminal offense has not been brought forward

    16   on many occasions.     At least it was my first experience with

    17   this type of case.     And so there were certain nuances to the

    18   legal issues that had to be resolved by the Court.           But I want

    19   to thank the jury for your hard work.

    20          Lunch has been ordered for you, so I'm not sure when it's

    21   set to arrive.     We can probably try to expedite it, if

    22   possible.    For those of you who want to remain for it, the food

    23   has already been ordered.       If you feel that you need to leave,

    24   feel free to do that.

    25          I understand that the jury would like to speak to the




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     1   lawyers; is that true?      Would you like to do that?       Or certain

     2   jurors, I should say.

     3                JUROR HERNANDEZ:      We're open.

     4                THE COURT:    Okay.    Well, then, for those of you who

     5   want to remain and speak to counsel, feel free.          They'll meet

     6   you in the jury room.      I would be careful about the discussions

     7   there with the lawyers, but at the same time, you're free to

     8   talk to them.     If those of you who do not want to remain, feel

     9   free to leave.     And thank you again for your service.

    10                THE COURTROOM DEPUTY:      All rise for the jury,

    11   please.

    12          (Outside the presence of the jury.)

    13                THE COURT:    So please have a seat.      We have --

    14   there's one issue that the Court needs to address, and I'm

    15   going to hear from both sides, and that is whether the

    16   defendant should be remanded to the custody of the United

    17   States Marshal today.

    18          The Court is concerned about the level of sophistication

    19   exhibited by the defendant, whether the documents and

    20   identification in place were manufactured or created by the

    21   defendant, compromising the security systems of various

    22   airports on more than one occasion based on the admission of

    23   defendant during the course of his interview with the special

    24   agents.

    25          That being said, I recognize the defendant -- I'm assuming




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     1   he has no prior history.      He was a lawyer in good standing.         I

     2   have some concerns about if he has the ability to manufacture

     3   identification the way it was portrayed in this case, whether

     4   he would be a flight risk.

     5          So let me hear from counsel for the defendant first as to

     6   the prior -- your prior relationship with your client and then

     7   whether he would be a flight risk or not.

     8                MR. HARBAUGH:     Yes, Your Honor.

     9          Mr. Flint was initially issued a citation following the

    10   July 25th, was ordered to appear, did appear at the CBB

    11   proceedings on October 17th.       He was arrested at that time for

    12   the indictment, but has -- has repeatedly made plans.           The

    13   court hearing has been moved, but he had already purchased the

    14   ticket for the last previous Court proceeding.          He came here

    15   for this one.     He's not under any -- and we're fine with adding

    16   conditions, including ankle monitor and other restrictions, but

    17   he has been appearing for all court appearances.

    18          And I understand the Court's concern regarding whether he

    19   manufactured the IHRC identification, but it is clear from all

    20   of the evidence and from what we know, that that wouldn't have

    21   entitled him to get on the plane.        He had to present a valid

    22   driver's license, which he did each time, as well as because of

    23   the precheck.

    24          So, Your Honor, based on that, we believe there's no

    25   concern regarding a flight risk.        We're fine with additional




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      1   conditions being added, but we do not believe that the Court's

      2   concern -- the Court should be concerned about manufacturing ID

      3   that would entitle him to flee.

      4                 THE COURT:   Has he surrendered his passport?

      5                 MR. HARBAUGH:   Yes, Your Honor.

      6                 MS. RO:   Yes, Your Honor.

      7                 THE COURT:   He surrendered his passport.      Okay.

      8   Then we have a suggested sentencing date of February 11th,

      9   2019, at 9:00.    The pretrial conditions previously imposed

    10    continue.   The Court will not require any other conditions

    11    unless there is some suggestion that they should be by the

    12    Government.    And additional pleadings will be due on or before

    13    January 28th, 2019.

    14          Anything further?

    15          The exhibits to be retained pending any appeal.

    16                  MS. RO:   Yes, Your Honor.

    17                  THE COURT:   And I think for those -- the lawyers who

    18    would like to go into the jury room to talk to the jurors, I

    19    think certain of the jurors have expressed to Mr. Cruz they

    20    would like an opportunity to talk to the lawyers.          Thank you.

    21                  MR. HARBAUGH:   Thank you, Your Honor.

    22                  MS. RO:   Thank you, Your Honor.

    23          Thank you, everyone.

    24                  THE COURTROOM DEPUTY:    The court's in recess.

    25                   (Proceedings concluded at 10:55 a.m.)




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      1                     CERTIFICATE OF OFFICIAL REPORTER

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      3   COUNTY OF LOS ANGELES      )
                                     )
      4   STATE OF CALIFORNIA        )

      5

      6                I, CAROL JEAN ZURBORG, Federal Official Realtime

      7   Court Reporter, in and for the United States District Court for

      8   the Central District of California, do hereby certify that

      9   pursuant to Section 753, Title 28, United States Code that the

    10    foregoing is a true and correct transcript of the

    11    stenographically reported proceedings held in the

    12    above-entitled matter and that the transcript page format is in

    13    conformance with the regulations of the judicial conference of

    14    the United States.

    15

    16    Date:   October 29, 2018

    17

    18

    19                                    /s/ CAROL JEAN ZURBORG

    20                        CAROL JEAN ZURBORG, CSR NO. 7921, CCRR, RMR
                                    Federal Official Court Reporter
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                              UNITED STATES DISTRICT COURT
